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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
 SCOTT SEDORE #210661,
                                                   NO. 2:22-cv-10060
        Plaintiff,
 v                                                 HON. GERSHWIN A. DRAIN

 SIRENNA LANDFAIR, et al.,

        Defendants.
 ___________________________________________________________________________________________
 Joshua S. Goodrich (P83197)                       O.G. Reasons (P80463)
 Lighthouse Litigation PLLC                        Assistant Attorneys General
 Attorney for Plaintiff                            Mich. Dept. of Attorney General
 5208 W. Saginaw Hwy.                              Attorneys for Defs. Florek, Landfair &
 Lansing, MI 48917                                  MDOC
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                                                   Lansing, MI 48909
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 Thomas G. Hackney (P81283)                        reasonso@michigan.gov
 Hackney Odlum & Dardas
 Attorneys for Def. Hallett
 10850 E. Traverse Hwy., Ste. 4440
 Traverse City, MI 49686
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 thackney@hodlawyers.com
 ___________________________________________________________________________________________/

                              FINAL PRETRIAL ORDER
 A final pretrial conference was held on the 12th day of March 2025. Appearing for

 the parties as counsel were:

     • Joshua Goodrich for Plaintiff Sedore
     • O.G. Reasons for Defendants Florek, Landfair and MDOC
     • Tom Hackney for Defendant Hallet
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 (1) Jurisdiction

       Subject-matter jurisdiction over this action is proper in this court under 28

 U.S.C. § 1331. This matter involves a federal question of law under the First

 Amendment to the U.S. Constitution.


 (2) Plaintiff’s Statement of Claims

       Plaintiff Scott Sedore, an incarcerated individual, asserts claims under 42

 U.S.C. § 1983, Title II of the Americans with Disabilities Act (ADA), and Section

 504 of the Rehabilitation Act. The claims primarily focus on allegations of First

 Amendment retaliation and disability discrimination.


       First Amendment Retaliation Claims
       Sedore alleges that MDOC officials and Dr. Hallet retaliated against him for

 filing grievances and preparing a lawsuit against prison healthcare staff, including

 Defendants Sirenna Landfair and Alinda Florek. Specifically, he claims:

          • He had a history of filing grievances about his medical care, which

              Defendants were aware of.

          • On June 16, 2021, he was placed in segregation under the pretext that

              he had engaged in self-harm.




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           • Defendants’ true motivation for placing him in segregation was to

              punish him for his legal actions, as he was on his way to the law

              library to prepare a lawsuit naming Defendants.

           • Being placed in segregation delayed his lawsuit filing by one week.

           • He was kept in a segregation cell that was too small for his

              wheelchair, causing him debilitating pain.

       Dr. Hallet placed the following statement “He also let it be known that he is

 suing a plethora of individuals” this statement is in direct violation of MDOC

 policy. MDOC Prisoner/Parolee Grievances 03.02.130 (3/18/2019) This statement

 placed all individuals on actual notice that review the medical records of his

 protected activity.

       Per policy “Staff shall avoid any action that give the appearance of reprisal

 for using the grievance process. “Grievance shall not be placed in […] or placed in

 the prisoner health record.” A mental health professional (Dr. Jones) reviewed his

 situation and determined that his placement in segregation was unwarranted and

 potentially retaliatory.


       Americans with Disabilities Act (ADA) & Rehabilitation Act Claims
  Sedore claims that MDOC and its officials violated the ADA and Rehabilitation

 Act by failing to provide reasonable accommodations for his disability:



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           • Sedore is a wheelchair user, and the segregation cell he was placed in

              was too small to accommodate his wheelchair.

           • He argues that this constituted disability discrimination because he

              was denied access to a facility or service in a manner that failed to

              reasonably accommodate his needs.

           • He asserts that the denial of proper accommodations in segregation

              resulted in pain and suffering, thus violating his rights under both

              statutes.


       Relief Sought
       Sedore seeks: Monetary damages for the alleged constitutional violations

 and statutory discrimination.

 Injunctive relief to prevent future retaliatory actions or discrimination against him.


 (3)   Defendant Hallet’s Statement of Claims/Defenses

       Defendant Hallet denies that she retaliated against Plaintiff for exercising his

 First Amendment rights. Defendant Hallet was not involved with the decision to

 place Plaintiff in segregation nor to monitor the Plaintiff for self-harm. Defendant

 Hallet had a telephone visit with Plaintiff on June 15, 2021. Defendant Hallet noted

 Plaintiff’s low platelet count from May 19, 2021, and ordered a new lab draw with

 urgent priority. Defendant Hallet did not observe or document any risk or ideation


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 of self-harm by Plaintiff. Defendant Hallet noted that Plaintiff raised that he is

 suing “a plethora of individuals.” Defendant Hallet did not respond to Plaintiff’s

 June 14/15, 2021, kite and did not examine or monitor the patient while he was in

 segregated housing on or about June 16, 2021. As Defendant Hallet was not

 involved in the alleged adverse action, she cannot be held liable for violating

 Plaintiff’s First Amendment rights.



       Defendant Landfair, Florek, and MDOC’s Statement of Claims

       Defendants Landfair and Florek deny retaliating against Sedore. Sedore sent

 a medical request to healthcare staff stating that he had recently “cut himself and

 bled for 4-5 hours” without telling any MDOC staff. As required, MDOC policy

 related to self-injurious behavior was followed and Sedore was placed in a holding

 cage, and a referral was made for a qualified mental health professional to conduct

 a psychological evaluation related to any risk to Plaintiff. The referral had nothing

 to do with grievances or lawsuits from Sedore.

       The MDOC did not violate the Americans with Disabilities Act or

 Rehabilitation Act. Sedore was placed in a holding cell for only a short period of

 less than two hours. The holding cell was large enough for Sedore’s wheelchair.


 (4) Stipulation of Facts



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    • In June 2021, Plaintiff Scott Sedore was an inmate at G. Robert Cotton
      Correctional Facility (JCF).
    • In June 2021, Defendant Victoria Hallet, DO was a medical doctor
      employed by Corizon Health, Inc. to provide prison healthcare services to
      inmates at JCF.
    • In June 2021, Defendant Sirenna Landfair, RN was a nurse employed by the
      Michigan Department of Corrections to provide prison health services to
      inmates a JCF.
    • In June 2021, Defendant Alinda Florek, RN was a nurse employed by the
      Michigan Department of corrections to provide prison health services to
      inmates a JCF.

 (5) Issues of Fact to be Litigated

    • Did Landfair retaliate against Sedore by doing a mental health referral
      because of his grievances.
    • Did Florek retaliate against Sedore by doing a mental health referral because
      of his grievances.
    • Did Hallet retaliate against Sedore because of his grievances.
    • Did the MDOC violate the ADA when Sedore was placed in the holding
      cell.
    • Did the MDOC violate the Rehabilitation Act when Sedore was placed in
      the holding cell.

 (6) Issues of Law to be Litigated
    • Any outstanding pretrial matters concerning issues of law, including jury
      instruction and verdict forms.
    • Any outstanding motions in limine.
    • Any evidentiary objections made at trial.
    • Any post-trial motions concerning judgement notwithstanding the verdict,
      judgement as a matter of law, and other post-trial motions, should they arise.
    • Can Plaintiff be awarded punitive damages for his injuries.
    • Can Plaintiff be awarded compensatory damages for his injuries.
    • Can Plaintiff prove that Defendants retaliated against him under the first
      Amendment of the Constitution
    • Can Plaintiff prove that Defendant MDOC violated the ADA or
      Rehabilitation act.
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 (7) Evidence Problems Likely to Arise at Trial
       Plaintiff does not currently have photos, dimensions, or manufacture of the

 holding segregation cage.

 (8) Witnesses

 Plaintiff’s Witness List
  Name                                                    Will Call/ May Call
  Scott Sedore                                            Will Call
  Alinda Florek, RN                                       Will Call
  Sirenna Landfair, RN, JCF HUM in 2021                   Will Call
  Dr. Alison W. Jones, PHD                                Will Call
  Brian Stricklin, RN                                     Will Call
  Victoria Hallet, DO                                     Will Call
  Grievance Coordinator Unknown Cobb                      May Call
  Carolyn Nelson (Department Analyst)                     May Call
  Russell Mangon (Step III) MDOC Legal Affairs            May Call
  Cathy Pulford (HIM)                                     May Call
  Tricia Klsor(SP)                                        May Call
  Wanda Hill, NP                                          May Call
  Kim Cargor Warden                                       May Call

 Defendant Hallet’s Witness List:
  Name                                                    Will Call/ May Call
  Scott Sedore                                            Will Call
  Victoria Hallet                                         Will Call
  Alinda Florek                                           Will Call
  Sirenna Landfair                                        May Call
  Alison W. Jones, Provider who assessed Plaintiff on     May Call
  June 16, 2021
  Wanda Hill, NP, Provider who assessed Plaintiff on      May Call
  May 24, 2021

 MDOC Defendants’ Witness List:
 Name                                                     Will Call/ May Call
 Alinda Florek                                            Will Call
 Sirenna Landfair                                         Will Call

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  Scott Sedore                                         Will Call
  Victoria Hallet                                      May Call
  Brian Stricklin                                      May Call
  Alison Jones                                         May Call
  Mindy Hill                                           May Call
  Robin Gilbert                                        May Call
  Trever LeBarre                                       May Call
  Nicholas Male                                        May Call
  Kevin Francies                                       May Call
  Shane Rennells                                       May Call

 (9) Exhibits
 Plaintiff’s Exhibits:
  Exhibit Description                             Objection
  Number
  1       MDOC Health Care Request to Dr.         Hearsay, Foundation,
          Victora Hallett dated 6/15/21 (PageId   Authentication
          34)
  2       MDOC Lab Report for Scott Sedore        Hearsay, Foundation,
          Dated 5/19/2021 (PageId 35-26)          Authentication, Relevance
  3       MDOC Clinical Encounter dated           Hearsay, Foundation,
          6/15/201 at 11:19 authored by Hallet,   Authentication
          Victora DO (PageID 495-498)
  4       MDOC Prisoner/Parolee Grievance         Hearsay, Foundation,
          Form Step 1 JCF2106 1026 28I            Authentication, Relevance
          (PageId 37-39)
  5       MDOC Grievance Rejection Letter         Hearsay, Foundation,
          dated 6/21/21 (PageID 40)               Authentication, Relevance
  6       MDOC Step II Grievance Response         Hearsay, Foundation,
          Letter dated 7/19/2021 (PageID 41)      Authentication, Relevance
  7       MDOC Prisoner/Parolee Grievance         Hearsay, Foundation,
          Appeal Form JCF2106 1026 28I            Authentication, Relevance
          (PageID 42)
  8       MDOC Kite Response dated                Hearsay, Foundation,
          6/16/2021 Unknown author, (PageID       Authentication
          46)
  9       MDOC Disbursement                       Hearsay, Foundation,
          Authorization/Catalog Order form        Authentication, Relevance

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           dated 7/21/21 (PageID 43).

  10       Drug Information Sheet for Lyrica     Hearsay, Foundation,
           (Pregaballin Capsules) (PageID 44-45) Authentication

  11       MDOC ROBERTA-R Referral                 Hearsay, Foundation,
           authored by Jones, Alison W. on         Authentication
           6/17/2021 at 14:01. (PageID 47-49)
  12       MDOC Prisoner/Parolee Grievances        Hearsay, Foundation,
           Policy Number 03.02.130 Effective       Authentication
           Date 03/18/2019 (PageID 130-137)
  13       MDOC Step III Grievance Report and      Hearsay, Foundation,
           Affidavit for Step III Grievances       Authentication, Relevance
           (PageID 139-195)
  14       MDOC Step III Grievance Response        Hearsay, Foundation,
           Form dated 2/1/22 (PageID 195)          Authentication, Relevance
  15       MDOC Prisoner/Parolee Grievance         Hearsay, Foundation,
           Appeal Form Received OLA                Authentication, Relevance
           10/1/2021 (PageID 196)
  16       Affidavit of Defendant Sirena           Hearsay and Relevance
           Landfair RN dated May 2, 2023
           (PageID 413-416) (PageID 1023-
           1026)
  17       Amended Affidavit of Defendant          Hearsay and Relevance
           Sirena Landfair RN dated August 2,
           2023 (PageID 760-763)(PageID 1062-
           1066)
  18       Affidavit of Defendants Alinda          Hearsay and Relevance
           Floreck RN dated May 2, 2023
           (PageID 418-421)
  19       MDOC Clinical Encounter –               Hearsay, Foundation,
           Administrative Note by Florek, Alinda   Authentication
           RN dated 6/16/21 15:04 (PageID 491-
           494)
  20       MDOC Clinic Encounter –                 Hearsay, Foundation,
           Administrative Note authored by         Authentication
           Hallet, Victora DO on 6/10/21 at
           12:29 (PageID 495)


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  21        MDOC Device and Equipment for           Hearsay, Foundation,
            Scot Sedore (PageID 521-524)            Authentication
  22        MDOC Medication Administration          Hearsay, Foundation,
            Record Scott Sedore dated June 2021     Authentication, Relevance
            (PageID 1011-12)
  23        MDOC Medication Administration          Hearsay, Foundation,
            Record Scott Sedore dated May 2021      Authentication, Relevance
            (PageID 1019-1020)
  24        MDOC Clinic Encounter 6/16/21 at        Hearsay, Foundation,
            13:09 by Florek, Alinda                 Authentication
  25        MDOC Psychopharm Progress Note          Hearsay, Foundation,
            dated 5/24/21 by Hill, Wanda            Authentication, Relevance
  26        MDOC Mental Health Progress Note        Hearsay, Foundation,
            dated 3/15/21 at 14:35 by Jones,        Authentication, Relevance
            Allison W.
  27        MDOC Lab Report dated 12/20/21 by       Hearsay, Foundation,
            Provider Hallet, Victoria, Lab Test     Authentication, Relevance
            taken on 6/16/21.
  28        MDOC Clinical Encounter –               Hearsay, Foundation,
            Administrative Note by Florek, Alinda   Authentication
            at 18:37
  29        MDOC Clinical Encounter -               Hearsay, Foundation,
            Administrative Note by Hallet           Authentication
            Victora, DO 6/10/21 at 12:24
  30        MDOC Kite Response 6/16/21,             Hearsay, Foundation,
            Florek, Alinda 14:56                    Authentication
  31        MDOC Clinical Encounter –               Hearsay, Foundation,
            Administrative Note dated 6/16/21 at    Authentication
            14:58
  32        Photos of the Segregation Cell          Foundation, Authentication

  33        Measurements of Cell                    Foundation, Authentication

  34        Photos of Plaintiff Wheelchair          Foundation, Authentication

  35        Drive Medical Product Dimension of      Hearsay, Foundation,
            Plaintiff Wheelchair STD22ECDDA-        Authentication
            SF


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  36         MDOC Policy on Suicidal and Self-       Hearsay, Foundation,
             Injurious Behavior PN 04.06.115         Authentication
             Effective date 9/01/2015



  Defendant Hallet’s Exhibits:
  Exhibit Description                    Objection
  Letter
  A.      Medical Record of June         Hearsay and Authentication
          15, 2021 Telephone
          Encounter with Defendant
          Hallet
  B.      Record of June 16, 2021        Hearsay and Authentication
          Kite Response;
  C.      Medical Record of June         Hearsay and Authentication
          16, 2021 Clinical
          Encounter with Defendant
          Florek;
  D.      Medical Record of Alison       Hearsay and Authentication
          Jones’ June 16, 2021
          ROBERTA-R referral;
  E.      Medical Record of May          Hearsay and Authentication
          24, 2021 Psychopharm
          Progress Note;
  F.      June 23, 2021 Lab Report;      Hearsay and Authentication

  G.        May 19, 2021 Lab Report;     Hearsay and Authentication

  H.        Plaintiff’s grievance JCF-   Hearsay and Authentication
            2106-1026-28I, responses,
            and appeals;
  I.        Plaintiff’s March 30, 2022   Hearsay and Authentication
            discovery responses;
  J.        Plaintiff’s March 30, 2022   Hearsay and Authentication
            discovery responses;
  K.        Plaintiff’s complete         Relevance, Undue Prejudice/probative,
            MDOC Grievance records       Hearsay, Improper Character Evidence,
                                         Prior Bad Acts, Speculation/lack of
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                                       personal knowledge, Authentication/lack
                                       of foundation
  L.       Plaintiff’s compete         Relevance, Undue Prejudice/probative,
           medical records from July   Hearsay, Improper Character Evidence,
           1, 2019 to April 21, 2022   Prior Bad Acts, Speculation/lack of
                                       personal knowledge, Authentication/lack
                                       of foundation, Privacy and
                                       Confidentiality, Violation-Physician-
                                       Patient Privilege
  M.       Plaintiff’s complete        Relevance, Undue Prejudice/probative,
           MDOC institutional          Hearsay, Improper Character Evidence,
           records from July 1, 2019   Prior Bad Acts, Speculation/lack of
           to March 22, 2022           personal knowledge, Authentication/lack
                                       of foundation

  MDOC Defendants’ Exhibits:
  Exhibit Description                  Objection
  Letter
  a.      Plaintiff’s Complete         Relevance, Undue Prejudice/probative,
          Medical Record, June         Hearsay, Improper Character Evidence,
          2021 – December 2021         Prior Bad Acts, Speculation/lack of
                                       personal knowledge, Authentication/lack
                                       of foundation
  b.       Plaintiff’s Wheelchair
           Records
  c.       Plaintiff’s Complete        Relevance, Undue Prejudice/probative,
           Grievance Record            Hearsay, Improper Character Evidence,
                                       Prior Bad Acts, Speculation/lack of
                                       personal knowledge, Authentication/lack
                                       of foundation, Violation-Physician-
                                       Patient Privilege
  d.       L-Unit Logbook              Relevance, Undue Prejudice/probative,
                                       Hearsay, Improper Character Evidence,
                                       Prior Bad Acts, Speculation/lack of
                                       personal knowledge, Authentication/lack
                                       of foundation
  e.       PD 03.04.100 Health
           Services


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   f.       PD 04.06.180 Mental       Relevance, lack of personal knowledge
            Health Services
   g.       PD 04.06.115 Suicidal and Relevance, lack of personal knowledge
            Self-Injurious Behavior
   h.       Photos of Relevant
            Holding Cage
   i.       Dimensions of Holding
            Cage

        The parties with exchange and make exhibits consistent with the Courts

  Orders and chamber guidelines.

  (10) Damages

  Plaintiff’s asserted damages
  I.    Compensatory Damages
        a.     Plaintiff Scott Sedore seeks compensatory damages for the violation of
               his constitutional rights, the pain and suffering endured due to the
               Defendants’ retaliatory actions, and the deprivation of his rights under
               the Americans with Disabilities Act (ADA) and the Rehabilitation Act.
  II.   Emotional and Psychological Distress
        a.     Plaintiff suffered mental and emotional anguish due to being placed in
               segregation without cause, in direct retaliation for exercising his First
               Amendment rights.
        b.     The unnecessary placement in segregation resulted in increased
               anxiety, distress, and emotional suffering, particularly as it caused a
               delay in his ability to file legal documents critical to his ongoing legal
               matters.
        c.     The false accusations of self-harm and forced segregation caused
               Plaintiff humiliation and distress, reinforcing a punitive environment
               aimed at suppressing his grievances and legal actions.
  III. Physical Pain and Suffering
        a.     Plaintiff, a wheelchair user, was confined in a segregation cell that was
               too small to accommodate his disability, forcing him into unbearable
               and painful conditions for hours.
        b.     Due to inadequate space, Plaintiff was unable to move freely, leading
               to severe discomfort, muscle strain, and exacerbation of his pre-existing
               medical conditions.
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        c.   The deliberate indifference to his physical limitations violated his rights
             under the ADA and Rehabilitation Act, causing unnecessary suffering
             due to the lack of reasonable accommodations.
  IV. Denial of Access to Legal Proceedings
       a.    As a direct result of Defendants’ actions, Plaintiff was prevented from
             attending his scheduled law library appointment, delaying the filing of
             an important federal lawsuit by one week.
       b.    This delay created legal disadvantages for Plaintiff and hindered his
             access to the courts, a fundamental constitutional right under the First
             Amendment.
  V.   Punitive Damages
       a.    Plaintiff further seeks punitive damages against the individual
             Defendants, Sirenna Landfair and Alinda Florek, for their malicious
             and retaliatory conduct.
       b.    Their actions were not merely negligent but intentional, undertaken
             with knowledge of Plaintiff’s history of filing grievances and lawsuits.
       c.    Defendants acted with deliberate indifference to Plaintiff’s
             constitutional and statutory rights, punishing him for protected speech
             and legal activities.
       d.    The reckless disregard for Plaintiff’s suffering and rights warrants an
             award of punitive damages to deter future misconduct by correctional
             officials.
  VI. Declaratory and Injunctive Relief
       a.    A declaration that Defendants’ actions violated Plaintiff’s rights under
             the First Amendment, the ADA, and the Rehabilitation Act.
       b.    An injunction requiring the Michigan Department of Corrections
             (MDOC) to implement policies ensuring proper accommodations for
             wheelchair-bound inmates, particularly when placed in segregation.
  VII. Total Damages Sought
       a.    Plaintiff requests the following:
             i.     Compensatory Damages: $250,000 for physical pain, emotional
                    distress, and constitutional violations.
             ii.    Punitive Damages: $500,000 against individual Defendants for
                    their retaliatory conduct.
             iii. Declaratory and Injunctive Relief: Policy changes to prevent
                    similar violations against incarcerated individuals.
       b.    Plaintiff reserves the right to adjust the requested damages based on
             further evidence, expert testimony, and legal proceedings.



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  Defendant Hallet
  Defendant Hallet does not claim any damages in this matter.

  There are no damages that can be calculated from objective data.

  The amount of Plaintiff’s damages are in dispute.

  MDOC Defendants

  The MDOC Defendants assert that they have caused no damages to Plaintiff,

  therefore, all asserted damages by Plaintiff are in dispute.

  (11) Trial
        (A) Jury
        (B) Two Days
  (12) Settlement: The parties, through counsel, conferred on February 27, 2025

  and March 4, 2025, regarding settlement. This conference was held remotely by

  video. No agreement was reached. Settlement appears unlikely.

  Approved and submitted by:
  Date March 4, 2025                      /s/ OG Reasons
                                          OG Reasons (P80463)
                                          Counsel for MDOC Defendants

                                          /s/Thomas Hackney
                                          Thomas Hackney (P81283)
                                          Counsel for Defendant Hallet

                                          /s/ Joshua S. Goodrich
                                          Joshua S. Goodrich, J.D., LL.M. (P83197)
                                          Counsel for Plaintiff

  Date March 17, 2025                     /s/Gershwin A. Drain
                                          Hon. Gershwin A. Drain
                                          United States District Judge
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